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United States District Court DISTRICT of ARIZONA
United States of America DOCKET NO.
v.
Leonid CORNEJO
DOB: xx/ox/1995 MAGISTRATE'S CASE NO.
United States Citizen
Jesse CORTEZ-Arguelles
DOB: xx/xx/1990
United States Citizen i 9 0 5 / 2 5 M J

 

Complaint for violation of Title 18 United States Code § 554(a)

 

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

On January 23, 2019, at or near Nogales, in the District of Arizona, Leonid CORNEJO and Jesse CORTEZ-Arguelles
knowingly exported and sent from the United States, and attempted to export and send from the United States, any
merchandise, article, or object contrary to any law or regulation of the United States, and received, concealed, bought,
sold, and in any manner facilitated the transportation, concealment, and sale of such merchandise, article or object, to
wit: one 9mm pistol, two 5.56 caliber rifles, two 9mm firearm magazines, two 30-round 5.56 caliber firearm
magazines, 1,030 rounds of 9mm ammunition, and 1,000 rounds of 10mm ammunition; knowing the same to be
intended for exportation contrary to any law or regulation of the United States, to wit: Title 22, United States Code,
Section 2778; Title 22, Code of Federal Regulations, Part 121.1; and Title 22, Code of Federal Regulations, Part
123.1; in violation of Title 18, United States Code, Section 554(a).

 

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On January 23, 2019, Customs and Border Protection Officers (CBPOs) were conducting outbound vehicle
inspections at the Mariposa Port of Entry (POE) in Nogales, Arizona. At approximately 8:00 p.m., CBPOs
encountered a pickup truck as it attempted to exit the United States and enter Mexico. The driver was identified as
Leonid CORNEJO and the front passenger as Jesse CORTEZ-Arguelles. CBPOs referred this vehicle to secondary
inspection, where they found two disassembled rifles, one pistol, and 2,030 rounds of ammunition hidden within the
vehicle. The disassembled rifles were laying on the driver and front passenger seat beneath a thin seat cover;
CORNEJO and CORTEZ had been sitting on top of the rifle parts. During a post-Miranda statement, CORNEJO
admitted that he expected to receive a total of $880 to smuggle the weapons and ammunition into Mexico, and to
receive further instructions of where to deliver the firearms and ammunition upon arrival in Mexico. CORNEJO
further stated that he was aware that exporting weapons and ammunition is illegal, and admitted to hiding the weapons
within the vehicle to avoid law enforcement detection. During a post-Miranda statement, CORTEZ stated that
CORNEJO asked him to borrow the pickup truck (which belongs to his girlfriend) to transport and- smuggle
ammunition to Mexico. CORTEZ agreed to let CORNEJO borrow his vehicle to smuggle ammunition, but only if he
accompanied CORNEJO. CORTEZ stated that he was not going to receive monetary compensation, as he was only
providing the vehicle. CORNEJO stated he was aware of the pistol inside the vehicle and the ammunition, and that
exporting weapons and ammunition is illegal. Neither CORNEJO nor CORTEZ has any license or lawful authority
to export the firearms and ammunition into Mexico.

 

 

MATERIAL WITNESS(ES) IN RELATION TO THE CHARGE: N/A

 

DETENTION REQUESTED . SIGNATURE OF COMPLAINANT
Being duly sworn, I declare that the foregoing is af, A

 

true and correct to the best of my knowledge.
OFFICIAY, TITLE

REVIEWED by AUSA Angela W. Woolridge OL. s__ | HSI Special Agent

 

Sworn to before me and subscribed in my presence.

 

 

 

 

 

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1) See Federal rules of Criminal Procedure Rules 3 and 54
